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                         UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No. 1:19-cr-00153-DAD-BAM

12                  Plaintiff,                           ORDER DENYING DEFENDANT’S
                                                         MOTION FOR BAIL REVIEW
13           v.
                                                         (ECF No. 55
14   RANDOLPH PICCHI,

15                  Defendant.

16

17          On April 22, 2020, Defendant Randolph Picchi filed a motion for bail review seeking to

18 be released from custody. Following several stipulations to continue the hearing on the motion,

19 the matter was heard on May 20, 2020. Defendant appeared in custody by video from the Fresno
20 County Jail. Counsel John Garland appeared by video for Defendant. Counsel Ross Pearson

21 appeared by video for the Government. Having considered the moving papers and the arguments

22 presented at the May 20, 2020 hearing, the Court shall deny Defendant’s motion for bail review.

23          A bail hearing “may be reopened, before or after a determination by the judicial officer,

24 at any time before trial if the judicial officer finds that information exists that was not known to

25 the movant at the time of the hearing and that has a material bearing on the issue whether there

26 are conditions of release that will reasonably assure the appearance of such person as required
27 and the safety of any other person and the community.” 18 U.S.C. § 3142(f).

28          First and foremost, the Court finds that Defendant has shown that new information exists


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 1 that was not known at the time of the bail hearing based on the real property offered for the

 2 defendant’s release and third party custodians Defendant seeks to reopen the hearing to obtain

 3 release due to the COVID-19 pandemic. But “[t]he risk of harm to the defendant does not

 4 usually bear on [the analysis under 3142(f)]; rather, whether a defendant’s particular

 5 circumstances warrant release in light of the COVID-19 pandemic is more properly considered

 6 on a case-by-case basis under the ‘another compelling reason’ prong of § 3142(i).” United States

 7 v. Terrone, No. 319CR00058RCJCLB, 2020 WL 1844793, at *5 (D. Nev. Apr. 10, 2020); see

 8 also United States of Am. v. Ryan, No. 2:19-CR-756-JAK, 2020 WL 1861662, at *1 (C.D. Cal.

 9 Apr. 14, 2020). Neither this nor the other issues raised by Defendant are new information

10 justifying reopening under section 3142(f).

11          Whether and under what conditions a defendant may be released pending trial under §

12 3142 is different from whether the defendant should be released for valid health reasons due to

13 the COVID-19 pandemic. Ryan, 2020 WL 1861662, at *1. “[T]he COVID-19 pandemic cannot

14 be the sole basis for releasing a defendant from custody pending trial; the Court must still

15 consider the Section 3142(g) factors.” United States v. Lee, No. 19-CR-20112-03, 2020 WL

16 1540207, at *3 (E.D. Mich. Mar. 30, 2020). Any determination regarding the initial detention—

17 and any later reconsideration of the detention decision based on materially changed

18 circumstances—depend solely “on the issue whether there are conditions of release that will

19 reasonably assure the appearance of [Defendant] as required and the safety of any other person
20 and the community.” Ryan, 2020 WL 1861662, at *1 (quoting 18 U.S.C. § 3142(f)).

21          Here, Defendant has been indicted on charges of with conspiracy to distribute and to

22 possess with intent to distribute methamphetamine and marijuana. On June 28, 2019, the Court

23 conducted a detention hearing and Defendant was detained as a flight risk and a danger to the

24 community. At that time the Court found that there were no conditions that would ensure

25 Defendant’s appearance or the safety of the community. By the current motion, the Court finds

26 that the conditions offered by Defendant do not reasonably address the flight risk or the danger to
27 the community that would be posed by his release on bail.

28          Alternately, Defendant argues that the COVID-19 pandemic qualifies as a compelling


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 1 reason under 18 U.S.C. §3142(i) to grant temporary release. Section 3142(i) provides that the

 2 Court “may, by subsequent order, permit the temporary release of the person, in the custody of a

 3 United States marshal or another appropriate person, to the extent that the judicial officer

 4 determines such release to be necessary for preparation of the person’s defense or for another

 5 compelling reason.”

 6          While a defendant’s medical condition may present a compelling reason in a particular

 7 case to seek temporary release, “[c]ourts typically grant relief under § 3142(i) only ‘sparingly to

 8 permit a defendant’s release where, for example, he is suffering from a terminal illness or serious

 9 injuries.’ ” Terrone, 2020 WL 1844793, at *4 (quoting United States v. Hamilton, 2020 WL

10 1323036, at *2 (E.D.N.Y. Mar. 20, 2020)). “[N]othing in the Bail Reform Act, including section

11 3142(i), authorizes pretrial release under [the generic pandemic conditions currently existing]

12 that—while undeniably grave—apply across the board to every pretrial detainee in [] custody.”

13 United States v. Villegas, No. 2:19-CR-568-AB, 2020 WL 1649520, at *2 (C.D. Cal. Apr. 3,

14 2020).

15          Courts hold that the fact that an individual may be at a higher risk from COVID-19 due to

16 underlying health reasons is not sufficient by itself to qualify as a compelling reason for

17 temporary release. Ryan, 2020 WL 1861662, at *2. While certain conditions are naturally more

18 conducive to the transmission of viruses, courts find that “prisons are no different than other

19 physically confined spaces like nursing homes, public schools, or homeless shelters.” Villegas,
20 2020 WL 1649520, at *2. Therefore, the “mere possibility of [a COVID-19] outbreak at

21 [Defendants’] facility does not equate to a compelling enough reason to justify [their] release”

22 under section 3142(i). Id. (quoting United States v. Smoot, 2020 WL 1501810, at *3, 2020 U.S.

23 Dist. LEXIS 55382, at *6 (S.D. Ohio Mar. 30, 2020)).

24          In this instance, Plaintiff argues that his age, living conditions and medical conditions

25 place him in the group of those at extremely high-risk for severe illness and possibly death from

26 COVID-19 if he remains incarcerated during the coronavirus pandemic.                 Defendant is

27 incarcerated at the Fresno County Jail and has not shown that the circumstances that he is

28 confined in at the jail are such that they would amount to compelling circumstances to qualify


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 1 him for temporary release.

 2          For these reasons and the reasons stated on the record, Defendant’s proposed new

 3 conditions, along with the additional conditions, do not ensure the Defendant’s appearance or the

 4 safety of the community.      Therefore, Defendant’s motion for bail review and release on

 5 conditions is DENIED. The Defendant remains detained as a flight risk and danger to the

 6 community.

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     IT IS SO ORDERED.
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 9 Dated:     May 20, 2020
                                                       UNITED STATES MAGISTRATE JUDGE
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